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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         PRETRIAL ORDER NO. 295: ORDER
                                                     DENYING MOTION TO EXCLUDE
   Beckfield v. Monsanto Co.,                        EXPERT KNOPF
   Case No. 21-cv-05322-VC
                                                     Re: Dkt. No. 17600



       The motion to exclude Dr. Kevin Knopf’s opinion that Roundup caused Beckfield’s NHL

is denied. This ruling assumes the reader’s familiarity with the facts, the applicable legal

standard, the prior Daubert rulings in this MDL, and the arguments made by the parties.

       Despite some Ninth Circuit language suggesting otherwise, doctors who focus on treating

patients and diagnosing their diseases are not necessarily the most qualified to identify the cause

of the disease. Treating or diagnosing a disease is very different from identifying the cause of a

disease, and doctors often spend their time doing the former without giving much consideration

to the latter. This has been discussed in some of the prior specific causation rulings in this MDL.

See, e.g., Pretrial Order No. 289 (Dkt. No. 17841) at 5 n.4; Pretrial Order No. 292 (Dkt. No.

18367) at 5 n.1. At the Daubert hearing, Dr. Knopf made this point himself. He explained that

although sometimes a treating physician will want to understand the cause of a disease because

the treatments may vary depending on the cause, the cause is often irrelevant to the treatment—

including the treatment of NHL. Knopf Hearing Tr. at 8:1–11.
       But Knopf does not merely have experience treating patients and diagnosing their
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diseases. He also has experience and training on the issue of analyzing the cause of diseases. Id.

at 11–21; id. at 46:6–9. Accordingly, from the standpoint of qualifications, Knopf is better

equipped to testify about the cause of Beckfield’s MCL than some of the other doctors who have

been offered as specific causation experts in this MDL.

       Qualifications notwithstanding, Knopf has done incredibly sloppy work in this case.

Beckfield’s medical records show that he’s been exposed to at least four pesticides during his

lifetime: Roundup, Atrazine, Lasso, and Dual. Any responsible expert performing a differential

diagnosis would study all four of these pesticides to determine whether they should be initially

“ruled in” as potential causes of Beckfield’s NHL. But Knopf failed to consider three of them—

Atrazine, Lasso, and Dual—when forming the opinion that’s disclosed in his expert report.1

       In most circumstances, this alone would require exclusion of the opinion. But Beckfield

is lucky. Monsanto, in connection with its Daubert motion, has presented no evidence of an

association between NHL and these three pesticides. Moreover, Beckfield’s exposure to these

pesticides was minimal compared to his exposure to Roundup. Accordingly, even though it was

irresponsible of Knopf not to consider these pesticides, it was ultimately not scientific error (at

least on the record presented by the parties in connection with this motion) to fail to include them

in the “ruling in” portion of the differential diagnosis.

       And the remainder of Knopf’s opinion is within the range of scientific reasonableness.
Some of Monsanto’s arguments have been addressed, and rejected, in prior orders. See Pretrial

Order No. 290 (Dkt. No. 18320) at 5–10 (rejecting substantively identical arguments regarding

“dose”). Others simply don’t warrant exclusion. For example, Knopf reliably opines that the

literature discussing NHL in general can be extrapolated to Beckfield’s specific sub-type of

NHL. Knopf also provided a reasonable explanation for why he disagreed with the


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  To be sure, at the Daubert hearing, Knopf asserted that he considered these pesticides when
preparing his report. But that testimony is contradicted by his deposition testimony. Knopf Dep.
at 137:2–23. Considering the record as a whole—including Knopf’s manner while testifying
about this issue at the Daubert hearing—it’s clear that Knopf never considered those three
pesticides (or was even aware of them) while forming his opinion.


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“oversimplification” in the way Cristian Tomasetti’s research on random mutations was being

applied in this litigation. See Knopf Dep. at 141:23–142:9; see also Pretrial Order No. 290 at 12–

13 (finding a comparable discussion of Tomasetti’s work by a specific causation expert to be

admissible). Overall, aside from the harmless error of failing to consider whether those other

three pesticides should be ruled in as potential causes, Knopf’s opinion is similar to many of the

specific causation opinions that have been permitted to go forward in this MDL.

       A suggestion of remand will be filed promptly unless the parties notify the Court of a

reason not to do so before the end of the week.



       IT IS SO ORDERED.

Dated: October 23, 2024
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




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